            IN THE UNITED STATES DISTRICT COURT
         FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                 CASE NO. 1:20-cv-00954-WO-JLW


 FARHAD AZIMA,

              Plaintiff,
                                            DEFENDANTS’ RESPONSE TO
        v.                                    PLAINTIFF’S APPEAL OF
                                            SPECIAL MASTER’S REPORT
 NICHOLAS DEL ROSSO and VITAL                   AND DECISION NO. 9
 MANAGEMENT SERVICES, INC.,

              Defendants.

      Defendants Nicholas del Rosso (“Del Rosso”) and Vital Management

Services, Inc. (“VMS”), (collectively “Defendants”), hereby respond to Plaintiff’s

Appeal of Special Master’s Report and Decision No. 9 (“Decision 9”) (D.E. 372).

Plaintiff’s appeal should be denied and this Court should affirm the Special

Master’s decision.

                               BACKGROUND

      On December 29, 2023, the Court granted the Parties’ Consent Motion

for Appointment of Special Discovery Master. (D.E. 313). The Court Order

appointing the Special Master adopted the Parties’ joint agreement. (See D.E.

313, p. 2).

      Decision 9 is the culmination of a prior decision by the Special Master,

several conferences, and an in camera review of the A&M Report. The A&M

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Report is a limited analysis of a laptop that the UK Court ordered the Stokoe

Law Firm to return to Del Rosso, which Del Rosso contends was stolen from

him and improperly accessed by the Stokoe Law Firm 1 and others for

approximately a year. The analysis conducted by Phil Beckett of Alverez &

Marsal Disputes & Investigations LLP was limited to answering questions set

forth by the UK Court, and was not undertaken to be a complete forensic

analysis of the UK laptop. (See Dkt. 349, p.18, 21-23). The Special Master

determined that—although Defendants were not involved in a UK court

hearing leading to an order Plaintiff is relying on to argue the relevance of the

A&M Report—the Report might be responsive to some of Plaintiff’s discovery.

(Id.) Given concerns about the ongoing UK litigation cases and whether the

A&M Report could be shared with parties like Plaintiff who was not a party to

the order to creating the report, the parties continued discussions with the

Special Master. (See Dkt. 372, p.2).




1 As the Court may recall, the Stokoe Law Firm filed a § 1782 application against Defendants and

publicly filed confidential bank statements belonging to CyberRoot. See In re Karam Salah al Din
Awni al Sadeq, et al., No. 1:21-MC-00006-WO-LPA (M.D.N.C.). Since that initial filing, Defendants
developed and submitted substantial evidence that it was agents of Azima who stole CyberRoot’s bank
statements (which Azima also sought through expedited discovery) and that the Stokoe Law Firm
submitted that evidence under false pretenses. See, e.g., In re Al Sadeq, Dkt. 25-28 (compiling police
reports, witness statements, and supplemental briefing in support of Defendants’ Motion for
Reconsideration); see also In re Al Sadeq, Dkt. 37, p.4 (“While there is merit to the argument that the
new bank records and the CyberRoot Declarations bolster Respondents’ allegations that Azima and
his co-conspirators stole the CyberRoot bank records, this type of evidence does not warrant
reconsideration of a § 1782 Application.” (citation omitted)).

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      And on April 25, 2024, the Special Master sought to resolve concerns and

balance the needs of Plaintiff to review relevant information against

Defendants’ desire to not run afoul of any litigation in the UK. (Dkt. 372, p.2).

The Special Master asked that Defendants produce the report subject to

redactions of “non-relevant information” as laid out in her decision:

      Specifically, the report stated that “[i]f the A&M Report in fact
      reveals that a Defendant undertook efforts to conceal or destroy
      information, that fact could be relevant to the claims and defenses
      in this matter and could trigger additional actions.” Because the
      Report includes a forensic analysis of the Laptop, the only unique
      information in it relevant here is information that only a forensic
      analysis would reveal – that is information regarding the removal,
      transfer, deletion, or destruction of data from the Laptop. Thus, to
      the extent the Report contains other information about the Laptop
      or its contents, such information is only relevant if it is otherwise
      responsive to Plaintiff’s discovery requests and is different from
      what a traditional search of the Laptop for responsive information
      would reveal. In other words, the Report is not the original source
      of information on the Laptop that is responsive to the Plaintiff’s
      discovery requests, except as it relates to any efforts (whether
      successful or not) to remove, transfer, delete, or destroy any data.

(Dkt. 372, p.2).

      No party even asked the Special Master to formalize her decision into an

order from the April 25, 2024 email. Within seven days of April 25, neither

party appealed nor took objection with (a) the Special Master’s determination

of what aspects of the Report were relevant or (b) that nonresponsive material

would be redacted. (Dkt. 372).



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      Defendants produced a redacted version of the A&M Report; Plaintiff

argued the redactions were too broad; and the Special Master reviewed the

issues raised with an in camera review of the A&M Report. That dispute about

the breadth of the redactions under her prior decisions led to the Special

Master issuing Decision 9 after an in camera review of the A&M Report. (See

Dkt. 372).

                          STANDARD OF REVIEW

      The Court reviews de novo all objections to findings of fact or conclusions

of law made by the Special Master. (D.E. 313, Appointment Order, ¶14); see

also City of Huntington v. AmerisourceBergen Drug Corp., No. CV 3:17-01362,

2020 WL 4589716, at *3 (S.D.W. Va. Aug. 10, 2020) (“As provided in Rule

53(f)(4) and (5), the court shall decide de novo all objections to conclusions of

law made or recommended by the Special Master; and the court shall set aside

a ruling by the Special Master on a procedural matter only for an abuse of

discretion.”). In the event that a party appeals a decision of the Special Master

and loses that appeal, the Joint Agreement notes that the Court may order the

appealing party to pay reasonable costs and attorneys’ fees associated with the

appeal. (D.E. 312-1, Joint Agreement, p. 3). The Court has also indicated that

it would consider awarding attorneys’ fees to the prevailing party. (D.E. 304,

Sept. 29, 2023, Tr. 10:14-16).


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                                          ARGUMENT

I.      PLAINTIFF’S MISCHARACTERIZATIONS OF EVIDENCE
        SHOULD BE REJECTED BY THIS COURT.

        Plaintiff begins his appeal with a mischaracterization of the evidence.

Plaintiff’s first point is that the A&M Report shows Del Rosso hacked others

and deleted material to hide his tracks. It does not. The Report examines a

laptop that the UK Court ordered the Stokoe Law Firm to return to Del Rosso

after Del Rosso contended that it was stolen and improperly accessed by

adverse parties. As Plaintiff has seen, the examiner found evidence a cleaning

tool had been used, but cannot tell what was cleaned and does not reach any

conclusions about who was operating the stolen laptop. There appears to be

no answer to the question of how the data at issue arrived on the UK laptop.

And no forensic examination is going to assess motivation of the computer’s

owner or operator. The A&M Report is no exception; the Report was not even

designed to determine what, if anything, was deleted from the UK laptop.

Instead, the examination (and thus the Report) was designed to see if Scott

Michael Moore’s data existed on the UK laptop and whether passwords for

other devices could be found.2               (Dkt. 371-2, pp.7-8).           The Special Master


2 Scott Micheal Moore is or was an attorney for Oussama El Omari.         In a case that was recently
dismissed with prejudice by the Southern District of New York, El Omari v. Dechert LLP, et. al., No.
23-CV-4607, Mr. Omari alleged that Del Rosso hacked and intended to expose Omari’s data at the
behest of RAK and Dechert. (El Omari, Dkt. 1) After considering similar arguments and supplemental
filings as those offered by Plaintiff, the District Court dismissed Mr. Omari’s case for failure to state

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previously determined that Moore is not related to or an affiliate of Azima and

Moore has no relevance to this case. Thus, the A&M Report, as the Special

Master found in Decision 6 and her April 25, 2024 determination, has only

limited relevance to issues in this litigation because the crux of the report was

not designed to answer anything at issue in this litigation. The contents of the

A&M Report are only relevant to the extent that it indicated there was

evidence of deletion because items no longer on the UK laptop would not show

up in a review of the UK laptop, which Defendants agreed to undertake coming

out of Decision 1 of the Special Master.

       Plaintiff also blends determination in UK proceedings with a discussion

of the Report to skew what else might be in the Report. For instance, Plaintiff

appears to argue that the equivalent in the United States of verified

allegations in an amended complaint are something more than just averments.

(See Dkt. 371 p.4) (arguing “pleadings” say Del Rosso lied and citing to exhibit

5).3 The Special Master did not bite on that bait in this fishing expedition, and

neither should this Court.




a claim on June 24, 2024, which affirmed the magistrate’s recommendation to dismiss the matter with
prejudice (El Omari, Dkt. 81).
3 The citation of UK “pleadings” that allegedly already discuss the entirety of the A&M Report begs

the question why Plaintiff needs to see the unredacted portions in this Middle District North Carolina
case.

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II.    PLAINTIFF’S ARGUMENTS ABOUT REDACTIONS IN
       DISCOVERY ARE UNTIMELY AND MISS THE MARK.

       Plaintiff makes two arguments on appeal: that the Special Master

inappropriately allowed redactions and, despite an in camera review, erred in

allowing just the aspects of the A&M Report she did to be discovered by

Plaintiff in this case. Each one of these arguments fails.

       First, Plaintiff has missed his chance to appeal the decision to provide

redactions of the Report. The Special Master’s April 25, 2024 decision notes

that “Defendants should produce the A&M Report redacting all non-relevant

information.” (Dkt. 372, p.2). That conclusion was not a new conclusion in the

Special Master’s Decision 9. Decision 9 bolsters some of Defendants’ previous

arguments, but ultimately just chalks a different—and closely examined—line

for what should be redacted than Defendants did on their own. Thus, Plaintiffs

are untimely raising an issue that the Report should be produced without

redactions.

       Second, Plaintiff’s arguments regarding courts hesitation to permit

redaction of nonresponsive or irrelevant material is when that is done

unilaterally by the parties. The very first case Plaintiff cites, Bartholomew v.

Avalon Cap. Grp., Inc., 278 F.R.D. 441, 451 (D. Minn. 2011), discusses the

Court reviewing the propriety of unilateral redactions made by one party in

discovery. The same unilateral redaction issue is in cases like In re Marriott

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Int'l Customer Data Sec. Breach Litig., No. 19-MD-2879, 2020 WL 5525043 (D.

Md. Sept. 14, 2020) and Orion Power Midwest, L.P. v. Am. Coal Sales Co., No.

05-cv-555, 2008 WL 4462301 (W.D. Pa. Sept. 30, 2008) cited by Plaintiff.

      But as noted in Bartholomew, “a party seeking the power to unilaterally

redact documents for relevance should request leave to redact those portions

that the party contends are irrelevant.” Bartholomew, 278 F.R.D. at 452.

“Channeling a dispute over whether information should be redacted into a

motion practice where both parties can be heard before the redaction is made

is preferable to a party resorting to self-help and redacting whatever it

pleases.” In re Marriott Int’l Customer Data Sec. Breach Litig., 2020 WL

5525043, at *3. That, as apposed to unilateral redaction, is exactly what

happened here.    Defendants requested leave to withhold the entire A&M

Report, arguing its irrelevance and uncertain ability to disclose the Report

under UK orders. And it was by instruction of the Special Master that the

redactions were allowed.    Thus, Plaintiff’s cases, and his argument about

redactions, are inapposite to the situation here. The Special Master found that

redacting irrelevant portions of an order subject to disclosure concerns under

a United Kingdom proceeding struck an appropriate balance. See, e.g., In re:

Takata Airbag Prod. Liab. Litig., No. 14-24009-CV, 2016 WL 1460143, at *2

(S.D. Fla. Mar. 1, 2016) (“Court finds Defendants have provided a persuasive


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reason for allowing them to redact certain irrelevant information[.]”). That

same concern is not present in other aspects of the discovery in this case and

thus redactions have not been broadly permitted throughout other aspects of

discovery.

III.    PLAINTIFF’S ARGUMENT THAT THE SPECIAL MASTER,
        KNOWING THE SCOPE OF WHAT WAS RELEVANT TO THIS
        CASE FROM HER OWN DECISIONS, STILL LEFT RELEVANT
        MATERIAL REDACTED IS ABSURD.

        Plaintiff last argues that because “public filings” by his cohorts in the

United Kingdom have alleged the A&M Report “contains expert findings that

Del Rosso possessed hacked documents” this Report is relevant to Plaintiff’s

theme of “once a hacker, always a hacker” and therefore a hacker of Azima.

Putting aside whether “hacking” is relevant to any claim or defense in this

case—and Plaintiff’s use of the word at least 7 times over about a page does

not make it relevant—the Special Master determined that references to

deletion of data on a laptop that was stolen from Del Rosso in the Report may

be relevant to a portion of one of Plaintiff’s discovery requests.

        Defendants are correct that the A&M Report does not contain
        responsive information to RFPs 7 and 21, and that it does not
        contain information relating to the “Defendants’ document
        retention policies”, as requested in RFP 20. However, RFP 20 also
        seeks information about the Defendants’ document retention
        “practices” from 2014 to the present and the report does contain
        information regarding those practices. Further, the report also
        reveals information relating to efforts to transfer or delete


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      information from the Laptop, which might be admissible and
      relevant to Plaintiff’s claims.

(Dkt. 372, p.4). She did not determine references to hacking were relevant.

Therefore, Plaintiff’s whole argument about hacking is based on speculation

and conjecture, in contrast to the Special Master’s decision of what to redact

and not, which was based on a her role as a court appointed trier of fact reading

the Report against the discovery actually requested.

      Plaintiff also argues that the Special Master errantly allowed him to

view certain sections of the A&M Report but not others. Plaintiff bases this on

his theory that the UK Laptop was wiped and this A&M Report answers the

questions of what, if anything, was wiped. That is implausible even without

in camera review and frankly insulting knowing the Report was reviewed by

the Special Master.

      Plaintiff is aware the Report was not designed to do anything other than

answer the questions of the UK Court—and those questions are visible in the

A&M Report. There was no prompt from the Court to find out what was

deleted. A section of the Report (Section 8.2) discussing use of a cleaning

program was presented to Plaintiff. Based on the visible text the expert states

“It is not possible to determine the original file and folder names of the files

and folders that have been wiped.” (Dkt. 371-2, p.27). This acknowledgement

of impossibility by the A&M Report author suggests that there is no other

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aspect of the Report that would discuss what was wiped. And Plaintiff’s belief

that the Special Master somehow overlooked the discussion of the impossible

in a redacted section of the report is absurd.

                                CONCLUSION

      In short, this Court should affirm the determination of the Special

Master, who meticulously reviewed the A&M Report in camera and

determined the redactions that should apply to balance Plaintiff’s need for

discoverable information against Defendants’ concerns that the Report should

not be shared with Plaintiff and his counsel. Further, Defendants request that,

pursuant to the Joint Agreement, the Court order Plaintiff to pay reasonable

costs and attorneys’ fees associated with his appeal.




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 Respectfully submitted, this the 3rd day of July, 2024.

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                          CERTIFICATE OF SERVICE

      I hereby certify that on this 3rd day of July 2024, I electronically filed
the foregoing document with the Clerk of the Court using the CM/ECF system,
which will send electronic notification of filing to the following:
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                     WORD COUNT CERTIFICATION
      Pursuant to Local Rule 7.3(d)(1), I hereby certify, subject to Fed. R. Civ.

P. 11, that Defendants’ Response to Plaintiff’s Appeal of Special

Master’s Report and Decision No. 9 contains 2,564 words, according to the

word count feature of the word processing system used to prepare the brief.

Accordingly, the brief does not exceed the word limitation.


      Respectfully submitted, this 3rd day of July, 2024.

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